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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
KRYST ZAWADZKI,                                                          CASE NUMBER

                                                                                         CV 21-7933-JFW (KK)
                                           Plaintiff(s)/Petitioner(s),
                                v.
INS., ET AL.,
                                                                               ORDER OF DISMISSAL OR REMAND

                                       Defendant(s)/Respondent(s).


The Court previously received from                Plaintiff(s)/Petitioner(s)           Defendant(s)/Respondent(s):
                 an IFP Request with no accompanying Complaint/Petition/Notice of Removal.
                 a Complaint/Petition/Notice of Removal without an accompanying IFP Request
                 or payment of the filing fees.
                 a Complaint/Petition/Notice of Removal with a partial filing fee payment for an amount
                 less than the required $400.
The Court sent a warning letter to      Plaintiff(s)/Petitioner(s) Defendant(s)/Respondent(s) advising that
failure to correct this deficiency within THIRTY DAYS from the date of the warning letter would result in
dismissal or remand of this case. More than THIRTY DAYS have now passed, and the deficiency has not been
corrected.

Accordingly, this case is HEREBY ORDERED

                  DISMISSED. No further filings shall be accepted under this case number.

                  REMANDED to the                                                             . No further findings shall be
                  accepted under this case number.

IT IS SO ORDERED.



 Dated:          November 15, 2021
                                                                                       United States District Judge




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